Case 6:05-cv-00930-DNH-GJD Document 15-4 Filed 11/22/05 Page 1 of 1

AFFIDAVIT OF SERVICE
STATE OF NEW YORK )
:SS.:
COUNTY OF NEW YORK )

MATTHEW M. FINNEGAN, being duly sworn, deposes and says:

1. I am over 18 years of age, not a party to this action, and am employed by
the law firm of Patterson, Belknap, Webb & Tyler LLP, located at 1133 Avenue of the Americas,
New York, New York 10036.

2. On November 22, 2005 I electronically filed the foregoing Brief in
Support of Defendants’ Request for a Protective Order to Cover Confidential Discovery
with the Clerk of the Court using the CM/ECF system, which sent notification of such filing to
the following:

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Sworn to before me this 22"

“WaT DELGIUDICE
Notary Nooo cate ob of New York
Qualified in Brome an
le Filed in New York oun

pires Nov. 1, 200:
